        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 1 of 58




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

       v.                                          Case No. 21-cr-392-1 (RCL)

 ALAN HOSTETTER,

            Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

       “Choke that city off, fill it with patriots, and then those people behind the walls of
       the Senate and the House are gonna be listening to us chanting outside those
       walls. . . . And they’re gonna realize, we have one choice. We either fix this mess
       and keep America America, or we become traitors, and those five million people
       outside the walls are gonna drag us out by our hair and tie us to a fucking lamp
       post. That’s their option.”

Alan Hostetter, December 19, 2020, Government’s Trial Exhibit 309.

       Alan Hostetter planned for the January 6, 2021 riot for weeks. He conspired with others,

he collected weapons, and he traveled across the country for the riot, with the goal of using the

threat of violence to disrupt the peaceful transfer of power. On January 6, 2021, armed with a

hatchet and other weapons, he joined his coconspirators and a mob of other rioters in surrounding

the U.S. Capitol building, where he remained for hours, in defiance of police commands and at

risk to the safety of the government officials in the building. For the reasons set forth herein, for

his convictions for Conspiracy To Obstruct an Official Proceeding, Obstruction of an Official

Proceeding, Entering and Remaining in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, and Disorderly and Disruptive Conduct in a Restricted Building or Grounds

with a Deadly or Dangerous Weapon, the United States requests that this Court sentence Hostetter
                                             1
          Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 2 of 58




to 151 months of incarceration, 36 months of supervised release, $2,000 in restitution, and a special

assessment of $400.        The United States recommends this upward departure from the

government’s calculated advisory Guidelines range of 108–135 months, to reflect the gravity of

Hostetter’s conspiratorial conduct, including his planning and preparations with Russell Taylor for

the attack on the U.S. Capitol on January 6th—an attack that was clearly calculated to influence

and affect the conduct of the United States government and to disrupt the peaceful transfer of

power.

   I.         FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         The government refers the Court to the Statement of Offense filed in the case of Hostetter’s

codefendant, Russell Taylor, ECF 197 at ¶¶ 1–7, for a short summary of the January 6, 2021 attack

on the United States Capitol by hundreds of rioters, in an effort to disrupt the peaceful transfer of

power after the November 3, 2020 presidential election.

         B.     Hostetter’s Role in the January 6, 2021 Attack on the Capitol

                     Preparing for Violent Revolution After the 2020 Election

         On November 3, 2020, the 2020 presidential election was held, and, by November 7, major

news media outlets declared that Joe Biden had emerged victorious, and then-President Donald

Trump had lost his bid for reelection. That is not the result that Alan Hostetter and his principal

coconspirator, Russell Taylor, had hoped for. See July 7 Trial Tr. 15:25–16:11. Hostetter and

Taylor were close friends and served together on the board of the American Phoenix Project—an




                                                  2
         Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 3 of 58




organization that Hostetter had founded.1 See July 7 Trial Tr. 23:2–11, 27:4–15. Hostetter and

Taylor closely followed and frequently discussed the 2020 presidential election. See July 7 Trial

Tr. 37:20–39:23, 68:14–20.

       When Trump lost, Hostetter and Taylor turned to each other to figure out how to take action

to help change the results. See July 7 Trial Tr. 42:11–43:15. Shortly after the election, Russell

Taylor asked Hostetter how they should respond to the 2020 election results. He asked, “How do

we have a show of force? Motorcade? Rally? Riot?” Exhibit 908.04. Hostetter responded,

“[W]e need to watch Trumps press conference in 30 minutes. Might give some cues on how we

react. If he declared victory, we should announce our victory party shortly thereafter.” Id. As

the results became clear, Hostetter and Taylor began to use the American Phoenix Project to

organize protests to the election results and to encourage violence. See, e.g., Exhibit 909; July 7

Trial Tr. 43:9–44:18, 70:7–72:23. Hostetter had a clear view of what was coming: “If this doesn’t

turn around we will eventually ‘Occupy’ every state capitol and DC with millions of people!”

Exhibit 909.02; see also Exhibit 909.04 (“I bet Georgia state Capitol is flooded tomorrow. This

is exactly what needs to happen. Big names like Wood and Powell telling people to get angry,

engage in civil disobedience, take to the streets.”).

       Notably, even before the election, Hostetter was promoting a violent and revolutionary

ideology—just in case the election did not go his way. For example, at an October 2020

conference focused on the QAnon conspiracy theory in Scottsdale, Arizona, Hostetter was a



1
  Hostetter has characterized the American Phoenix Project—the emblem for which Hostetter
regularly stood behind as he advocated for political candidates and called for political violence—
a “nonprofit.”
                                                3
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 4 of 58




featured speaker, on behalf of his organization, the American Phoenix Project. Hostetter told the

crowd, “Nobody wants violence.        Nobody wants violence.”      Exhibit 333.    But Hostetter’s

message that day was not a nonviolent one:

       We are taught from the time we are children in this country to always think that violence
       is a horrible, horrible thing. Until we go back and reflect on our revolutionary war. They
       picked up guns at some point and said, “Enough.” Until we reflect on the Civil War, when
       we ended slavery by picking up guns and dealing with it that way. We don’t want that to
       have to have happen, but it always has to be something in the back of your mind. We’ve
       never been as close to it as we are today since the Civil War. And you have to be thinking
       like that. I’m all about peace, until somebody comes after my kids and my grandkids and
       says, “No, they’re gonna live under Communist rule. We’re gonna have Marxist school
       systems.”

Id. Hostetter made it clear that he did not view violence as necessary at that time, but only for

one reason: he thought Trump would win. He explained, “There comes a time when people end

up picking up guns. I’m not advocating that. I think through the ballot box on November 3rd,

it’s gonna be such a huge victory that we will avoid violence by a landslide election.” Id.

Hostetter told the crowd that he would abstain from violence—if Trump won. Then Trump lost.

       In November 2020, Hostetter traveled to Washington, D.C., for the “Million MAGA

March”—a rally to protest the 2020 election results. Hostetter drove to Washington, D.C. for that

event, so that he could bring weapons for himself and for Taylor, who flew in for the event. July

7 Trial Tr. 46:1–49:17; July 12 Trial Tr. 116:11–117:17.

       As he drove across the country, Hostetter recorded a video, where he called for the

execution of political officials he viewed of as traitors: “Some people, at the highest levels, need

to be made an example of, with an execution or two or three.” Exhibit 305. He continued,

“Tyrants, and traitors, need to be executed as an example, so nobody pulls this shit again in our


                                                 4
         Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 5 of 58




lifetime, and the lifetime of our children, and our grandchildren, and their children’s children.”

Id. Hostetter explained how he wanted this violence to send a message: “People should never

forget who did this to us, what they did, and what the ultimate punishment ended up being. That’s

how you stop this nonsense.” Id. Hostetter didn’t merely make these remarks in private.

Instead, he intentionally put them on YouTube to promote his violent message.2

       In the same video, Hostetter explained the purpose of his trip. He was not going just to

protest. He wanted to send a message to members of Congress that if he did not get his way, he

would come back for those members of Congress, to “starve those mother fuckers out” and to

“replace” them with people he viewed as “actual patriots.” Id.

       I’m going to D.C. I’m going to be there on Saturday for this march. I hope there are a
       million patriots there. Between that—that’s gonna be a shot across bow to the deep state
       when they see a million patriots surrounding that shithole of a city, the swamp. Because
       its gonna make all those swamp creatures know that at any time we want, we’ll come back
       with a million patriots, and we’ll surround that city, and we’ll starve those mother fuckers
       out until they come out of their hiding and we’ll replace them with actual patriots.

Id. He continued, “I’m telling the swamp right now that we will be back if this doesn’t get

resolved peacefully and soon.” Id.

       But November 2020 was far from the only time Hostetter called for executions of people

he disagreed with. In other written, planned remarks from December 5, 2020, Hostetter repeated

his calls for executions of political officials he disagreed with:

       As long as people like the Clintons, Brennan, Clapper, the dirty cops of the FBI, the
       treacherous agents of the CIA remain free, as long as they remain free, we have no justice
       in this system until all the traitors and coup plotters -- and, yes, that includes Barack
       Hussein Obama himself -- until these criminals and traitors are behind bars or swinging


2
 When asked at trial if the 587 views for this video was a high number of viewers for him, he
quipped, “that’s pretty low actually.” July 12 Trial Tr. 121:14–22.
                                                5
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 6 of 58




       from the gallows, there is no justice in this country. And as long as there is no justice in
       this country, there can be no renaissance. There can be no peace.

Exhibit 604.13; see also Exhibit 604.09 (metadata).

       On December 12, 2020, Hostetter gave another speech calling for the execution of his

perceived political enemies. Speaking to a crowd of supporters, flanked by his coconspirator

Russell Taylor to his left and a former U.S. Representative to his right, Hostetter rallied the crowd:

“There must—absolutely must—be a reckoning. There must be justice. President Trump must

be inaugurated on January 20th, and he must be allowed to finish this historic job of cleaning out

the corruption in the cesspool known as Washington, D.C. The enemies and traitors of America,

both foreign and domestic, must be held accountable. And they will. There must long prison

terms, while execution is the just punishment for the ringleaders of this coup.” Exhibit 307; see

also Exhibit 604.14 (written notes for that speech); Exhibit 332 (Hostetter promoting that speech

on Twitter).

                  “Death To Traitors”: Hostetter’s Plans for January 6, 2021

       On December 19, 2020, then-President Trump shared a Tweet, writing, “Statistically

impossible to have lost the 2020 Election. Big protest in D.C. on January 6th. Be there, will be

wild!” Exhibit 507.

       For many January 6 rioters, this Tweet provided the impetus to get to Washington, D.C.

and provided January 6 as the focal point. Not for Hostetter. Hostetter was already well aware

of the congressional proceeding on January 6, and he knew why it was so important. On

December 16, 2020, Hostetter directed an American Phoenix Project colleague to contact Ali

Alexander, an organizer of the Stop the Steal campaign, to suggest a January 6 rally. Exhibit

                                                  6
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 7 of 58
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 8 of 58
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 9 of 58




       The most important thing that we saw happen in the last 48 hours—did you see President
       Trump’s Tweet last night, where he asked all patriots to descend on Washington, D.C. on
       January 6th? Did you see that Tweet last night? January 6th is going to be one of the most
       important days in the history of this country. We’re gonna have an opportunity on January
       6th for millions of patriots to show up in Washington, D.C., and have an impact on what
       happens in that joint session of Congress. That’s going to be the last opportunity that we
       solve this problem constitutionally before we move into the Insurrection Act. One way or
       another, this problem is going to be solved.

Exhibit 308. Hostetter told the crowd what he wanted to accomplish on January 6, when Congress

was in session:

       Choke that city off, fill it with patriots, and then those people behind the walls of the Senate
       and the House are gonna be listening to us chanting outside those walls. . . . And they’re
       gonna realize, we have one choice. We either fix this mess and keep America America,
       or we become traitors, and those five million people outside the walls are gonna drag us
       out by our hair and tie us to a fucking lamp post. That’s their option.

Id. He encouraged his supporters to take off work and find any way to get to Washington, D.C.

for January 6. He compared the planned event to “the Boston Tea Party.” Id.

       While Hostetter was often out in front of crowds giving speeches, his close friend and

coconspirator, Russell Taylor, was doing their organizing behind the scenes, principally through a

series of Telegram groups. See July 7 Trial Tr. 49:18–50:8, 52:18–53:24. As discussed at trial,

Taylor created or was the principal communicator in four relevant Telegram groups.

      Taylor created the “California Patriots—Spec Ops,” Telegram group, which was owned by
       Taylor, Exhibit 905, and in which Hostetter was a member, Exhibit 905.01, to organize
       “Patriots that are ready to function as operators of disruption against Tyranny” with the
       goal “to remove authority.” Exhibit 905.02. In this group, Taylor made plans to “disable
       the vehicles” of city workers, and smash windows at Facebook’s offices, all while
       disguising their actions as those of Antifa. Id. As Taylor wrote, “[L]et [antifa] get the
       credit.” Id. See generally July 7 Trial Tr. 82:10–85:9.

      Taylor owned a Telegram group, “So Cal Patriots,” in which Hostetter was a member.
       Exhibit 901. In the So Cal Patriots Telegram group, Taylor called for violence against
       political leaders—saying that California governor Gavin Newsom “[n]eeds to be drug out

                                                  9
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 10 of 58




        on the street”—and called for group members to “[s]torm” the California state capitol
        building, all while Hostetter cheered him on. Exhibit 901.03. See generally July 7 Trial
        Tr. 57:25–62:19.

       In Telegram group called “California Patriots—Answer the Call,” owned by Hostetter,
        Taylor organized others to go to Washington, D.C. for January 6, in response to the call
        from then-President Trump. See Exhibits 902.02, 902.03, 902.04. Taylor rallied others,
        saying, “I personally want to be on the front steps and be one of the first ones to breach the
        doors!” Exhibit 902.06. Another group member added, “I like it. Be the first ones to
        storm the Capitol. Go BIG or go home.” Id. Taylor encouraged others to not just attend
        the Washington, D.C. events, but to bring weapons. See Exhibit 903.02. See generally
        July 7 Trial Tr. 98:10–102:11, 113:21–115:9.

       Taylor also organized another Telegram group, for those “that are traveling to DC for Jan
        6th event that are comfortable with violence.” Exhibit 903.03. Taylor called them a
        “group of warriors.” Id. That Telegram group was called “The California Patriots—DC
        Brigade,” and it included dozens of members. Exhibit 904.01. In his first messages to
        the group, Taylor stated, “This thread is exclusive to be utilized to organize a group of
        fighters.” Exhibit 904.03. He wrote, “Initially our intent is not to go after and seek
        violence,” but explained, “[a]s we are on site and events begin to unfold that may change.”
        Id. Hostetter and Taylor’s coconspirators and codefendants—Erik Scott Warner, Felipe
        Antonio “Tony” Martinez, Derek Kinnison, and Ronald Mele3—were all members of this
        “group of fighters.” Exhibit 904.01. Members of the group discussed their expectation
        for violence on January 6. One member wrote, “I am going to dc for rally not to talk but
        to take care of business, time for talking is over! This is tyranny and our constitution states
        we can put bitches 6ft deep! Let’s do it! There are not enough cops to stop us!” Exhibit
        904.04. Another member introduced himself and added, “Diplomatic on occasion, less
        likely this time. Armed.” Exhibit 904.05. Kinnison introduced himself, Warner,
        Martinez, and Mele as “so cal 3%,” noted that they “train with each other” and that they
        would be bringing “lots of gear,” including “bear spray, knives, flags, plates[,] goggles,
        helmets.” Exhibit 904.04. In a sign that he knew what they were planning was unlawful,
        Kinnison wrote, “we should clear all text in this chat the morning of the 5th just in case for
        opsec purposes.” Id.

See generally July 7 Trial Tr. 102:12–103:17, 115:10–123:25, 127:1–129:9.

        While Hostetter was less active on Telegram than Taylor, Taylor viewed Hostetter as a



3
  Following a jury trial, on November 8, 2023, Warner, Martinez, Kinnison, and Mele were each
convicted of Conspiracy To Obstruct an Official Proceeding, among other offenses. See Minute
Entry of November 8, 2023 & ECF No. 376.
                                               10
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 11 of 58




leader and stated, “everything had to go through him, for our events, communication, anything

else that we were doing.” July 7 Trial Tr. 77:10–21. Taylor explained, with respect to Telegram,

“I would always communicate with him as far as what was going on and what we were doing as

part of organizing and getting ready for going to DC.” July 7 Trial Tr. 123:22–25.

                     “Examples of mass uprisings toppling governments”:
                            The Days Prior to January 6, 2021

       Hostetter drove to Washington, D.C. for January 6. He chose not to fly, so that he could

load his car with weapons for himself and Russell Taylor. 4 Exhibit 920 (“I’ll be bringing

‘equipment’ so I plan on driving.”); see also July 7 Trial Tr. 104:16–20, 108:7–20, 109:14–20.

Hostetter brought tactical gear, a helmet, hatchets, knives, stun batons, pepper spray, and other

gear for himself, Taylor, and others. See Exhibit 918 (“Unloaded all my gear, Russ’s gear,

Morton’s gear and your step mama’s gear!”); July 7 Trial Tr. 109:14–20; July 12 Trial Tr. 96:2–

22. Hostetter told Taylor that he was bringing a pistol to Washington, D.C. as well. July 7 Trial

Tr. 108:17–20. After Hostetter arrived, Taylor unpacked the gear Hostetter brought for him and

snapped a picture. See Exhibit 516.




4
  Hostetter’s other reason for driving is equally alarming. He was planning for the possibility of
a long term stay if revolution broke out. See Exhibit 908.19 (Hostetter stating he brought “8
weeks worth of food”); July 7 Trial Tr. 126:4–17.
                                                 11
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 12 of 58
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 13 of 58
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 14 of 58




Phoenix Project and featured not only Alan Hostetter and Russell Taylor as speakers, but other

well-known political figures as well. Hostetter bragged about his prior arrest for what he called

“civil disobedience”—and the fact that his arrest “went viral.” Exhibit 310. He then turned to

promoting conspiracy theories regarding the 2020 election results: “That’s who beat Donald

Trump. Dominion and all the fakes and frauds, led by these vipers behind you in the people’s

house. They’re gonna hear our voice tomorrow. They’re gonna hear us loud and clear. We are

at war in this country! We are at war.” Id. He continued, “Our voices tomorrow are going to

put the fear of God in the cowards and the traitors, the RINOs and the communists of the Democrat

Party, They need to know we as a people, 100 million strong, are coming for them if they do the

wrong thing!” Id. Hostetter concluded, “I will see all tomorrow at the front lines. We are

taking our country back!” Id.5

                   January 6, 2021: The Attack on the U.S. Capitol Building

       Hostetter and Taylor met at their hotel early on the morning of January 6, 2021. July 7

Trial Tr. 152:21–156:15. As they spoke, Taylor showed Hostetter weapons that he was carrying,




5
   Hostetter began his speech by noting that he was setting aside his prepared remarks and would
speak without notes. Exhibit 310. The prepared remarks that Hostetter wrote out are equally
illuminating as to his intent, and just as alarming. He planned to tell the crowd, “Those
treacherous grifters sitting behind those walls tomorrow . . . have filled us with the same ‘terrible
resolve!’ And tomorrow they will HEAR. OUR. RAGE! The time is NOW and it is up to US
to be the spark in this revolution.” Exhibit 602.07; see also Exhibit 602.06 (metadata). He
planned to invoke the collapse of the Soviet Union, and explain, “It takes courage, passion, resolve
and huge numbers of people to make this kind of an impact. Tomorrow, right here in the
SWAMP’s backyard we have all of that! OUR. VOICES. WILL. BE. DEAFENING.
TOMORROW!! Our rage and resolve will shake the walls of that den of vipers! We will
ENCOURAGE those few patriots in the People’s House. We will put the fear of God in the
traitors and the cowards.” Exhibit 602.07.
                                                 14
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 15 of 58




including the hatchets he was carrying in his jacket at the time. Id. Hostetter was “celebrating”

that they were “prepared” and showed Taylor he, too, had his hatchet in his backpack. Id. After

conferring with each other, Hostetter and Taylor met up with other members of their DC Brigade

Telegram group to head to the Ellipse for the speeches planned that morning. Id.

       Hostetter and Taylor knew that they could not bring the weapons they had collected and

were carrying to the Ellipse, Exhibit 908.20, or to the U.S. Capitol, Exhibit 908.13. As they

headed to the Ellipse, Hostetter recorded an Instagram video, stating, “Patriots are on the march

now.” Exhibit 334. He noted that he, Taylor, and others, “are not actually going to be going into

the Ellipse, because we have some personal protective gear.” Id. Accordingly, rather than

leaving their weapons behind, Hostetter and Taylor observed the speeches from outside of the

secured area, to avoid going through a security screening. July 7 Trial Tr. 137:3–24. Hostetter

and Taylor listened to the speeches from the Ellipse, including the speech by then-President

Trump, in which he stated that then-Vice President Mike Pence would be at the U.S. Capitol

building that day. July 7 Trial Tr. 163:14–165:12.

       From the area of the Ellipse, Hostetter and Taylor joined others in walking to the U.S.

Capitol building. As they approached the building, Russell Taylor, standing next to Hostetter,

recorded a video of himself. See Exhibit 409. He said, “We are converging on the Capitol.” Id.

He added, “I heard something, of such, indicating that the barricades have been breached.” Id.

He continued, as they walked toward the Capitol, “We’ll see if the Capitol Police are oath keepers

of the Constitution.” Id. At that point, Taylor received a message from someone remotely

viewing his video live, and he announced, “Ashley said the barricades have been breached.” Id.;


                                               15
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 16 of 58




July 7 Trial Tr. 169:9–15. Hostetter confirmed the information from Taylor, and added, “I hear

sirens.” Exhibit 409. Taylor read out the next update, “They are storming the Capitol.” Id.

Hostetter laughed when he heard it, and replied, “May it be true!” Id.

       As they entered Capitol grounds, Hostetter and Taylor approached the police line on the

west plaza area of the Lower West Terrace. See July 7 Trial Tr. 173:9–25. As they approached

the building, they observed not just the police line, but also “chemical agents like tear gas” being

deployed. Id. They heard flash bang grenades and saw rioters scaling the walls of the Capitol.

July 12 Trial Tr. 154:19–25. But Hostetter and Taylor didn’t stop.

       From the west plaza, Hostetter and Taylor climbed into scaffolding covering a northwest

set of stairs leading to the Inaugural Stage. July 7 Trial Tr. 174:18–175:9. As they climbed

through the scaffolding, Hostetter and Taylor emerged from a hole in the scaffolding and continued

climbing toward the Inaugural Stage. See Exhibit 330. As he came out from the scaffolding,

Hostetter carried a bullhorn and looked down over the west plaza, where rioters were battling with

the police line they had passed earlier. Id.; see also Exhibit 403; July 7 Trial Tr. 179:20–180:7.

From his highly visible perch, and with his bullhorn directed to the crowd and his American flag

waving above the chaotic scene, Hostetter encouraged the rioters below, who were overrunning

the police line. See Exhibits 314 & 330.




                                                16
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 17 of 58
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 18 of 58




Tr. 180:18–24. There, they encountered a line of police officers who were holding back the rioters

from advancing onto the Inaugural Stage. July 7 Trial Tr. 175:16–22, 182:4–23. From their

position overlooking the west plaza, Taylor and Hostetter saw the police line below fall, as rioters

overran the police and forced them to retreat. See Exhibit 404; July 7 Trial Tr. 184:9–18; July 12

Trial Tr. 158:11–159:15. Taylor cheered them on, “Move forward, Americans!” Exhibit 404.

Hostetter celebrated, “This is how it fucking works!” Id.; see July 7 Trial Tr. 186:4–10.

       After seeing the police line on the west plaza fall, the group trying to gain access to the

Inaugural Stage was “encouraged,” and turned to the police line in front of them. July 7 Trial Tr.

191:11–15. Taylor then turned to the police holding them back from the Inaugural Stage and

shouted, “Last chance, boys! Move back! Move back!” Exhibit 404. Hostetter then joined

other rioters, including Taylor, who were moving forward against the police line. July 7 Trial Tr.

192:8–193:11; see also Exhibits 207.01, 313.01, 316.01. Taylor, with Hostetter following closely

behind, pushed against the police line, contributing to its collapse. July 7 Trial Tr. 192:8–193:11;

see also Exhibits 207.01, 313.01, 316.01. Officers continued trying to retain control, and one

deployed pepper spray against Taylor. July 7 Trial Tr. 193:12–194:1; see Exhibit 208.01. Taylor

retreated only briefly and told Hostetter he had been pepper sprayed. Taylor then advanced again,

with Hostetter in tow, proceeding up the stairs on the construction on the Inaugural Stage, toward

the Upper West Terrace. July 7 Trial Tr. 194:2–195:18; see also Exhibit 402.




                                                18
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 19 of 58
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 20 of 58




        Hostetter and Taylor ascended to a set of bleachers overlooking the Inaugural Stage and

the sea of rioters on the West Plaza. Taking in the scene, Hostetter recorded a video, turning the

camera towards the mob, and saying, “The people have taken back their house. I don’t think I’ve

ever seen such a beautiful sight in my whole life. We’ve been sitting here, quietly for years,

watching this corruption unfold. Hundreds of thousands of patriots showed up today to take back

their government.” Exhibit 602.75. At that moment, Hostetter was interrupted by another rioter,

who exclaimed, “Oh shit, they’re going inside!” Id. Hostetter turned the camera away from the

crowd and toward the bleachers, leading to the Capitol building and said, “We hear they’re going

inside,” as Taylor called out to the crowd, “Inside!” Id. Hostetter added, “I’ll be back later,” and

then stopped the video. Id. Hostetter and Taylor then moved toward the Capitol building. July

7 Trial Tr. 204:1–10.

        Hostetter and Taylor descended from the bleachers overlooking the Inaugural Stage and

walked up to the Upper West Terrace Door, where they saw other rioters entering the building.

July 10 Trial Tr. 11:6–14:6. They reached the steps leading up to the door, before stopping and

turning away, as police began visibly converging on the door from south and north of the door.

See Exhibits 319 & 203.01; July 10 Trial Tr. 16:8–17:2. Hostetter and Taylor decided to stay

outside of the building, to decrease their risk of being arrested, given the sheer number of rioters

outside the building, compared to the number of police officers. See July 10 Trial Tr. 14:2–15:2.

        Hostetter and Taylor remained on the Upper West Terrace for hours.            While there,

Hostetter carried his bullhorn and used it to encourage the crowd. See July 10 Trial Tr. 21:22–

22:8.


                                                20
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 21 of 58
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 22 of 58




but celebrated that he “Stormed the Capitol.” Exhibit 915.02; see also Exhibit 925 (Hostetter

sharing a video from the Upper West Terrace and writing “Me and Russ stormed [the] Capitol

with the patriots!”). He told another he was “[r]ight in the middle of it.” Exhibit 916.05. While

still at the Capitol, Hostetter was told, “Congress had to put on escape hoods and gas masks to be

evacuated.” Exhibit 926.02. Rather than express remorse, Hostetter beamed, “Got tear gassed

and flash banged. This was the shot heard round the world. We were in the thick of it.” Id.

                After January 6, 2021: Hostetter Celebrates Storming the Capitol

       After he stormed the Capitol, Hostetter was proud and wanted everyone to know what he

had accomplished. He boasted that he and Taylor “did our part,” and he compared their conduct

to the Boston Tea Party and the American Revolution of 1776. Exhibit 526; see also Exhibit 556;

Exhibit 919 (“Shot heard round the world today.”); Exhibit 922.04 (“This is the short heard round

the world!”).




                                               22
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 23 of 58
          Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 24 of 58




[we]re full of tear gas!” Exhibit 923.03. He made clear that anyone blaming Antifa for the attack

at the Capitol was wrong. When a friend tried to attribute the Capitol attack to Antifa, Hostetter

was quick to reject it: “Patriots broke into Capitol Hill! I was one of them! Don’t listen to the

FAUX News. This was the shot heard round the world!” Exhibit 913.03.           To another friend,

Hostetter wrote, “I did not see what I believed to be ANTIFA.” Exhibit 917.02. He added,

“people I saw and spoke with were clearly pissed off patriots who felt there was no alternative

after word went out that Pence was about to certify those electors and our country would be

doomed.” Id.

   II.       THE CHARGES AND VERDICT

          On May 10, 2023, a federal grand jury returned a second superseding indictment charging

Hostetter with four counts: Count One (Conspiracy To Obstruct an Official Proceeding, in

violation of 18 U.S.C. § 1512(k)); Count Two (Obstruction of an Official Proceeding, Aiding and

Abetting, in violation of 18 U.S.C. §§ 1512(c)(2) & 2); Count Three (Entering and Remaining in

a Restricted Building and Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

§ 1752(a)(1) & (b)(1)(A)); and Count Four (Disorderly and Disruptive Conduct in a Restricted

Building and Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(2)

& (b)(1)(A)). On July 13, 2023, Hostetter was convicted on all counts following a bench trial.

Minute Entry of July 13, 2023; ECF No. 276 (hereinafter “Verdict”).

   III.      STATUTORY PENALTIES

          Hostetter now faces sentencing on Conspiracy To Obstruct an Official Proceeding, in

violation of 18 U.S.C. § 1512(k); Obstruction of an Official Proceeding and Aiding and Abetting


                                                24
          Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 25 of 58




that offense, in violation of 18 U.S.C. §§ 1512(c)(2) & 2; Entering and Remaining in a Restricted

Building and Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(1)

& (b)(1)(A); and Disorderly and Disruptive Conduct in a Restricted Building and Grounds with a

Deadly or Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(2) & (b)(1)(A).

          As noted by the Presentence Report issued by the U.S. Probation Office, PSR at ¶¶ 130–

33, 138 & 151, Hostetter faces a maximum sentence of 20 years’ imprisonment, 3 years’

supervised release, and a fine of $250,000 for each of Counts One and Two; and a maximum

sentence of 10 years’ imprisonment, 3 years’ supervised release, and a fine of $250,000 for each

of Counts Three and Four.

   IV.        THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007).

          A. Guidelines Calculations

          The United States submits that, with the exception noted below regarding aggravating role,

the calculation laid out in the PSR for Count Two, the Section 1512(c)(2) offense, is correct. PSR

at ¶ 80–87.     Hostetter has filed no objection to the Presentence Report’s Guidelines calculation.

Probation did not calculate the offense level for the three other counts for which this Court

convicted Hostetter, which this Court must do. See U.S.S.G. § 1B1.1(a)(4) (“If there are multiple

counts of conviction, repeat steps (1) through (3) [regarding how to calculate the offense level for

a single count] for each count.”). The United States’s calculation of the offense levels for each of


                                                  25
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 26 of 58




the four counts of conviction is as follows6:

       That calculation is as follows:

    Count One: 18 U.S.C. § 1512(k):
    U.S.S.G. § 2X1.1(a)           Conspiracy Base Offense Level (Adjusted) 31
                                                                           (See Below)
                                  Total                                    31

    Count Two: 18 U.S.C. § 1512(c)(2), § 2
    U.S.S.G. §§ 2J1.2(a), 2X2.1   Obstruction Base Offense Level                   14
    U.S.S.G. § 2J1.2(b)(1)(B)     Cause/Threat Injury or Damage                    +8
    U.S.S.G. § 2J1.2(b)(2)        Substantial Interference with Justice            +3
    U.S.S.G. § 2J1.2(b)(3)        Extensive Scope, Planning, or Preparation        +2
    U.S.S.G. § 3B1.1(a)           Aggravating Role                                 +2
    U.S.S.G. § 3C1.1              Obstruction of Justice                           +2
                                  Total                                            31

    Count Three: 18 U.S.C. § 1752(a)(1) & (b)(1)(A)
    U.S.S.G. § 2B2.3(a)            Trespass Base Offense Level                      4
    U.S.S.G. § 2B2.3(b)(1)(A)(vii) Restricted Building or Grounds                  +2
    U.S.S.G. § 2B2.3(b)(2)         Dangerous Weapon Possessed                      +2
    U.S.S.G. § 2B2.3(c)(1)         To Commit A Felony Cross-Reference              31
                                                                                   (See Above)
                                         Total                                     31

    Count Four: 18 U.S.C. § 1752(a)(2) & (b)(1)(A)
    U.S.S.G. § 2A2.4(a)           Trespass Base Offense Level                      10
    U.S.S.G. § 2A2.4(b)(1)(B)     Dangerous Weapon Possessed                       +3
                                  Total                                            13

       B. Relevant Conduct

       As the Guidelines make clear, specific offense characteristic enhancements shall be applied




6
  With the exception of the obstruction of justice enhancement under U.S.S.G. § 3C1.1, and the
aggravating role enhancement, these enhancements also match the enhancements that Taylor
agreed to in his plea agreement. Hostetter, of course, did not enter into a plea agreement with the
United States and plead guilty. Neither Hostetter nor the United States are bound by the
Guidelines stipulations in Taylor’s plea agreement.
                                                26
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 27 of 58




on the basis of “all acts and omissions committed, aided, abetted, counseled, commanded, induced,

procured, or willfully caused by the defendant” and “all harm that resulted from th[os]e acts and

omissions . . . and all harm that was the object of such acts and omissions.”              U.S.S.G.

§ 1B1.3(a)(1)(A) & (a)(3). Likewise, these enhancements shall also apply, in a conspiracy case,

such as this one, on the basis of “all acts and omissions of others that were (i) within the scope of

the jointly undertaken criminal activity, (ii) in furtherance of that criminal activity, and (iii)

reasonably foreseeable in connection with that criminal activity,” and “all harm that resulted from

th[os]e acts and omissions . . . and all harm that was the object of such acts and omissions.”

U.S.S.G. § 1B1.3(a)(1)(B) & (a)(3). As Hostetter conspired to obstruct the certification of the

official proceeding with Taylor, as well as with other members of the DC Brigade Telegram group,

the Court should consider not only Hostetter’s conduct but also the conduct that he aided and

abetted and the conduct of his coconspirators that was within the scope of their conspiracy, in

furtherance of their conspiracy, and reasonably foreseeable.

       C. The Enhancement for Causing or Threatening To Cause Physical Injury to a
          Person or Property Damage Applies

       An eight-level increase applies if the offense involved causing or threatening injury to a

person or damage to property “in order to obstruct the administration of justice.” U.S.S.G.

§ 2J1.2(b)(1)(B). This eight-point enhancement for causing or threatening injury to a person or

damage to property “in order to obstruct the administration of justice” applies here.7



7
  When objections have been raised, the majority of courts in this district have endorsed the
application of the two “administration of justice” enhancements to the January 6 context. See,
e.g., United States v. Rubenacker, 21-cr-193 (BAH) (D.D.C. May 26, 2022), ECF No. 70; United
States v. Wright, 21-cr-341 (CKK) (D.D.C. Mar. 4, 2023), ECF No. 76 at 8–11 (collecting cases);
                                                27
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 28 of 58




       As an initial matter, Hostetter’s own statements make clear his violent threats in connection

with these crimes. Hostetter’s speeches were frequently focused on themes of violence, and he

was clear that his goal was to intimidate members of Congress. On January 5, 2021, Hostetter

spoke a rally about his desire to intimidate members of Congress: “Our voices tomorrow are going

to put the fear of God in the cowards and the traitors, the RINOs and the communists of the

Democrat Party, They need to know we as a people, 100 million strong, are coming for them if

they do the wrong thing!” Exhibit 310.

       Weeks earlier, Hostetter gave a speech urging the crowd to get to Washington, D.C. for

January 6, 2021, so that members of Congress would know “those five million people outside the

walls are gonna drag us out by our hair and tie us to a fucking lamp post.” Exhibit 309. When

asked about it on cross-examination, Hostetter’s response made the threat clear: “I was wanting to

have a big enough response so that the members might themselves think to themselves that that

might happen, not that it would actually -- not that we would actually go and do it.” July 12 Trial

Tr. 142:2–5.    The threat of physical violence is sufficient to trigger the § 2J1.2(b)(1)(B)

enhancement, as the express wording of that provision states, and the trial evidence established

numerous examples of Hostetter making threatening statements targeting January 6, 2021.

       But the Court need not rely on Hostetter’s words alone. Hostetter followed closely behind

as Taylor pushed against a police line on the Inaugural Stage. See July 7 Trial Tr. 192:8–193:11;




United States v. Fairlamb, 21-cr-120 (RCL) (D.D.C. Nov. 10, 2021), ECF No. 72 (applying the
administration of justice enhancements); see also United States v. Larry Brock, 23-3045 (D.C.
Cir.) (oral argument on September 27 on whether the district court correctly applied enhancements
pursuant to this subsection).
                                              28
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 29 of 58




see also Exhibits 207.01, 313.01, 316.01. Taylor, with a knife displayed on his chest and, like

Hostetter, a hatchet in his bag, pushed against a line of police officers protecting the Capitol

building from the mob. The violence here was obvious and it brought with it a clear threat of

physical injury. As Hostetter joined Taylor in advancing past that police line and onto the Upper

West Terrace, it is clear that Taylor’s conduct was aided and abetted by Hostetter and was a

reasonably foreseeable act in furtherance of and within the scope of their criminal agreement.

Likewise, Hostetter stood directly behind Taylor on the Upper West Terrace as Taylor shouted

threats at police, such as “This is your last chance, boys!” Exhibit 326.01.

       In planning his obstructive conduct, Hostetter personally threatened violence.           He

supported Taylor and other rioters threatening violence against police at the U.S. Capitol. And

he personally carried a hatchet on to Capitol grounds, further underscoring the threat he and his

coconspirators posed. Accordingly, the Court should apply the enhancement.

       D. The Enhancement for Substantial Interference with Justice Applies

       A three-level increase applies if the offense involved substantial interference with the

administration of justice.     U.S.S.G. § 2J1.2(b)(2).       “‘Substantial interference with the

administration of justice’ includes . . . the unnecessary expenditure of substantial government or

court resources.” U.S.S.G. § 2J1.2(b)(2), Application Note 1. Hostetter’s conduct, and the

conduct he aided and abetted, led to such unnecessary expenditures. The riot that Hostetter

participated in and has since celebrated resulted in an unprecedented delay in the peaceful transfer

of presidential power in this country. Members of Congress were evacuated, the proceeding was

delayed for hours, officers were injured, and over $2.9 million dollars in damage was done to the


                                                29
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 30 of 58




Capitol building.

       It was a riotous mob that caused this extensive damage and interference with the

administration of justice; but a mob is effective through its size. “‘Just as heavy rains cause a

flood in a field, each individual raindrop itself contributes to that flood. Many rioters collectively

disrupted Congressional proceedings, and each individual rioter contributed to that disruption.’

The same idea applies here. Many rioters collectively caused the unnecessary expenditure of

substantial government resources, and each individual rioter, including [the defendant],

contributed to that unnecessary expenditure.” United States v. Wright, 21-cr-341 (CKK) (D.D.C.

Mar. 4, 2023), ECF No. 76 at 24 (cleaned up) (quoting United States v. Rivera, 607 F. Supp. 3d 1,

9 (D.D.C. 2022) (CKK)).

       And while Hostetter did not personally enter the Capitol building, the government need not

show a direct causal link between Hostetter’s personal actions and the substantial interference—

beyond his joining a riotous mob with that effect.

       Where, as here, the defendant acted in concert with hundreds of other rioters to obstruct
       congressional proceedings; no one person in the crowd could have created the same degree
       of havoc, chaos, and disruption as the collective group did, and the government need not
       demonstrate a specific defendant as singularly responsible for the unnecessary expense.
       Instead, the government need only show a direct causal line from all of the participants in
       the mob, which includes a specific defendant, that collectively resulted in a situation
       causing the unnecessary expenditure of substantial governmental resources.

United States v. Rubenacker, 21-cr-193 (BAH) (D.D.C. June 7, 2022), ECF No. 70 at 78.

       Hostetter joined a mob with an unprecedented effect on the administration of justice. The

Court should, accordingly, apply the enhancement.




                                                 30
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 31 of 58




       E. The Enhancement for Extensive Scope, Planning, or Preparation Applies

        A two-level increase applies if the offense was “extensive in scope, planning, or

preparation.” U.S.S.G. § 2J1.2(b)(3). Hostetter and Taylor were no ordinary January 6 rioters.

These conspirators did not see the Tweet from then-President Trump and decide to travel to

Washington, D.C. for the protest at the Ellipse, and then decide to follow the crowd to the Capitol.

Even before then-President Trump’s Tweet, Hostetter was focused on January 6 as a day of

reckoning and was reaching out to an organizer at Stop the Steal to ensure there would be a massive

crowd. Exhibit 909.05. Their preparations included Taylor’s lead role in organizing multiple

Telegram groups, under the watchful eye of Hostetter, to gather a group of fighters prepared for

violence on January 6, 2021. Exhibit 904.03; July 7 Trial Tr. 123:22–25. Hostetter collected

weapons for himself and for Taylor and traveled across the country to get them to Washington,

D.C. Accordingly, the Court should apply the enhancement.

       F. The Enhancement for Aggravating Role Applies

       A two-level increase 8 applies if the defendant was an “organizer, leader, manager, or

supervisor” in a criminal activity for which higher enhancements do not apply. U.S.S.G. §

3B1.1(c). In this conspiracy case, the Court should recognize Hostetter’s leadership role and

apply the enhancement.

       As the Court found in rendering its verdict, “Mr. Hostetter and Mr. Taylor conspired




8
  In its communications with Probation, the United States previously took the position that a four-
level enhancement applied. While a three- or four-level enhancement arguably could apply to
these facts, in light of similarly situated conspiracy cases in this context, we seek a two-level
adjustment only.
                                                31
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 32 of 58




together to obstruct and impede the Electoral College Certification.” Verdict at 2. The Court’s

findings reflect the leadership role that Hostetter held within their group: “Mr. Hostetter proposed

and agreed to transport weapons from California to Washington, D.C., on behalf of Mr. Taylor.

Mr. Hostetter actually transported those weapons knowing and intending that Mr. Taylor would

carry those weapons on January 6.” Id. at 5. Hostetter was a member of Telegram groups,

organized by Taylor, such as the DC Brigade.      Id. at 4. Russell Taylor testified that he “would

always communicate with [Hostetter] as far as what was going on and what we were doing as part

of organizing and getting ready for going to DC.” July 7 Trial Tr. 123:22–25.

        At trial, FBI Special Agent Jessica Salo testified that, beyond Hostetter and Taylor, other

members of the “DC Brigade” Telegram group “were on Capitol grounds on January 6th,” “entered

the U.S. Capitol building,” and “ engaged in assaultive conduct on Capitol grounds on January

6th.”   July 11 Trial Tr. 116:1–15.     Among the members of the DC Brigade were alleged

coconspirators and codefendants Erik Scott Warner, Felipe Martinez, Ronald Mele, and Derek

Kinnison. Additionally, Hostetter gave a series of public speeches calling for executions and

intimidation of members of Congress on January 6, 2021. Id. at 8. Hostetter’s speeches, which

he gave in public and posted publicly online, called for others to go to Washington, D.C. on

January 6, 2021 and threaten to “drag [members of Congress] us out by their hair and tie us to a

fucking lamp post. That’s their option.” Government Exhibit 309.

        Because Hostetter took on a leadership role with respect to Russell Taylor’s conduct and

the conduct of the DC Brigade, the two-point enhancement for aggravating role is appropriate.




                                                32
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 33 of 58




       G. The Enhancement for Obstruction of Justice Applies

       Guidelines § 3C1.1 provides for a two-level increase if “[T]he defendant willfully

obstructed or impeded, or attempted to obstruct or impede, the administration of justice with

respect to the investigation, prosecution, or sentencing of the instant offense of conviction, and the

obstructive conduct related to (A) the defendant’s offense of conviction and any relevant conduct;

or (B) a closely related offense.”

       Here, the enhancement can be applied on the basis of Hostetter’s false and obstructive

testimony at trial. See U.S.S.G. §3C1.1 n.4(B), (F). On at least three occasions, the Court right

noted that it did not find Hostetter’s trial testimony credible:

      “I do not credit Mr. Hostetter’s testimony that he sought to peaceably sway Congress. GX
       909.02, 909.04, and 909.05 demonstrate that Mr. Hostetter intended to occupy the Capitol
       on January 6 if the election results did not change to favor President Trump.” Verdict at
       8.

      “I find Mr. Hostetter’s testimony that when he discussed executions, he was referring to a
       lawful process ultimately culminating in the imposition of the death penalty, as wholly
       incredible in light of the context in which those statements were made and the notes he
       prepared for several of his speeches. No reasonable citizen of this country--much less one
       with two decades experience in law enforcement--could believe that it was lawful to use
       mob violence to obstruct or impede the joint session of Congress.” Verdict at 11.

      “I do not credit Mr. Hostetter’s testimony that he was not carrying a hatchet because it was
       stolen out of his truck before January 6. Despite his decades of experience in law
       enforcement and the nature of the items allegedly stolen, Mr. Hostetter did not report this
       theft to police. GX 908.11A shows that Mr. Hostetter texted about the hatchets shortly
       before January 6 in connection with transporting Mr. Taylor’s backpack across the country
       to Washington, D.C. I credit Mr. Taylor’s testimony that Mr. Hostetter never told him his
       hatchet was stolen.” Verdict at 14.

       On the basis of Hostetter’s false testimony at trial, the Court should apply a two-level

enhancement for obstruction of justice.


                                                  33
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 34 of 58




       H. Criminal History Category

       The U.S. Probation Office calculated Hostetter’s criminal history as category I, which is

not disputed. PSR at ¶ 93. Accordingly, based on the government’s calculation of Hostetter’s

total adjusted offense level, at 31, Hostetter’s advisory Guidelines imprisonment range is 108 to

135 months’ imprisonment.

       I. Application of 3A1.4 n.4 Upward Departure

       A two-level upward departure pursuant to U.S.S.G. § 3A1.4, application note 4, is

appropriate here because Hostetter’s conduct was “calculated to influence or affect the conduct of

government intimidation or coercion, or to retaliate against government conduct.” Such an

enhancement would bring the advisory Guidelines range to 135–168 months imprisonment. This

Guidelines range more appropriately reflects the defendants’ culpability, and a sentence at the

midpoint of that Guidelines range—151 months—is appropriate.9

               a. Legal Standard

       An adjustment for terrorism applies where the offense “involved, or was intended to

promote, a federal crime of terrorism,” which is defined by statute in 18 U.S.C. § 2332b(g)(5).

See U.S.S.G. § 3A1.4, cmt. n.1; see United States v. Mandhai, 375 F.3d 1243 (11th Cir. 2004); see

also United States v. Hale, 448 F.3d 971, 988 (7th Cir. 2006) (applying adjustment where the

offenses themselves were not enumerated but the underlying conduct was meant to promote an




9
 In the absence of this upward departure, the United States would submit that a sentence of 151
months is nonetheless appropriate under the Section 3553(a) factors.
                                              34
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 35 of 58




enumerated offense). Here, the United States is not seeking application of the Section 3A1.4(a)

adjustment.

       Rather, the United States seeks the application of Note 4 to Section 3A1.4, which provides

that an upward departure is “warranted” if the defendant’s “offense was calculated to influence or

affect the conduct of government by intimidation or coercion, or to retaliate against government

conduct.” Id., cmt. n.4. When it adopted Note 4, the Sentencing Commission explained that it

is “an encouraged, structured upward departure,” the purpose of which is to provide courts with

“a viable tool to account for the harm involved during the commission of these offenses on a case-

by-case basis” and to “make[] it possible to impose punishment equal in severity to that which

would have been imposed if the § 3A1.4 adjustment actually applied.” Sentencing Guidelines,

App. C, amend. 637 (2002).

       A defendant’s offense is “calculated to influence or affect the conduct of government by

intimidation or coercion,” as required by Section 3A1.4, if the offense was specifically intended

to have the effect of influencing, affecting, or retaliating against government by force or the threat

of force. See, e.g., United States v. Mohammed, 693 F.3d 192, 201 (D.C. Cir. 2012) (defendant’s

narcoterrorism offense had requisite “calculation” where evidence showed defendant “specifically

intend[ed] to use the commission from the drug sales to purchase a car to facilitate attacks against

U.S. and foreign forces in Afghanistan”). While they are related, “calculation” for the Section

3A1.4 enhancement is distinct from a defendant’s particular “motive” and a defendant need not be

“personally motivated by a desire to influence or affect the conduct of government,” so long as

defendant’s crime was “calculated to have such an effect.” Khatallah, 314 F. Supp. 3d at 199.


                                                 35
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 36 of 58




Although “calculation may often serve motive,” the enhancement’s “calculation” requirement is

satisfied if a defendant’s offense was “planned—for whatever reason or motive—to achieve the

stated object.” United States v. Awan, 607 F.3d 306, 317 (2d Cir. 2010) (Section 3A1.4 applied

to defendant motivated by “prestige and potential influence obtained by associating with” another

terrorist, even if defendant did not share the specific political motivation of that terrorist).

Moreover, a defendant’s intent to influence government conduct or retaliate against the

government need not have been his “sole” or “primary” purpose and the “calculation” requirement

may be satisfied even if a defendant’s relevant conduct sought to “accomplish other goals

simultaneously.” United States v. Van Haften, 881 F.3d 543, 545 (7th Cir. 2018); see also United

States v. Haipe, 769 F.3d 1189, 1193 (D.C. Cir. 2014) (defendant’s “money-raising goals

obviously do not preclude a finding of intent to influence government policy,” even if raising

money was defendant’s “primary purpose”).

       Indeed, Section 3A1.4 is applicable regardless of a defendant’s claimed magnanimous

intent. See United States v. Christianson, 586 F.3d 532, 539 (7th Cir. 2009) (affirming application

of the adjustment for defendants who professed to try to “sav[e] our earth,” because “the purpose

behind defendants’ actions was to further [their] political agenda: the end to industrial society”).

While Hostetter may claim, despite the absence of any legitimate evidence, that he had a genuine

belief that the election was fraudulent, that is irrelevant. “[I]t doesn’t matter why the defendants

oppose . . . the United States government—if they use violence and intimidation to further their

views, they are terrorists.” Id.




                                                36
         Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 37 of 58




                b. Hostetter’s Conduct and Convictions

         The conduct constituting his convictions of Conspiracy To Obstruct an Official Proceeding

(Count One), Obstruction of an Official Proceeding (Count Two), Entering and Remaining in a

Restricted Building and Grounds with a Deadly or Dangerous Weapon (Count Three), Disorderly

and Disruptive Conduct in a Restricted Building and Grounds with a Deadly or Dangerous Weapon

(Count Four) are not enumerated under 18 U.S.C. § 2332b(g)(5). Nevertheless, they were

“calculated to influence or affect the conduct of government by intimidation or coercion, or to

retaliate against government conduct.” U.S.S.G. § 3A1.4, cmt. n.4(A). As his convictions and

the underlying evidence reflects, Hostetter conspired to, attempted to, and temporarily did prevent

Congress from certifying the 2020 Electoral College vote, through threatened and actual use of

force.

         The convictions on Counts One and Two carry with them the finding that Hostetter

intended to and did obstruct or impede the certification proceeding. The evidence made clear that

the threat of violence was an essential component of the crime. Among his repeated calls for

political violence, Hostetter made explicit his desire that members of Congress think, when they

saw a riotous mob outside the walls of Congress, that those “five million people outside the walls

are gonna drag us out by our hair and tie us to a fucking lamp post.” Exhibit 309. Hostetter

admitted at trial that he wanted members of Congress to “think to themselves that that might

happen.” July 12 Trial Tr. 142:2–5. Hostetter and Taylor, who brought hatchets and other

weapons to the U.S. Capitol building, made clear through their planning that they were certainly




                                                37
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 38 of 58




prepared for violence. And when the time came, Taylor used force in pushing past a police line

on the Inaugural Stage when police tried to stop him and Hostetter from advancing.

       While Hostetter did not personally engage in violence—though he certainly aided and

abetted Taylor’s push against the police line—violence is not required for the application of the

enhancement. Courts applying Section 3A1.4 have found that engaging in violent conduct may

be relevant to a defendant’s terroristic “calculation” to affect the conduct of government through

“intimidation or coercion,” but actual violence is not necessary. See, e.g., United States v.

Hammoud, 381 F.3d 316, 325 (4th Cir. 2004) (affirming application of Section 3A1.4

enhancement for defendant convicted of providing money laundering services to Hezbollah);

United States v. Aref, No. 04-cr-402, 2007 WL 804814, at *4–5 (N.D.N.Y. Mar. 14, 2007)

(affirming application of Section 3A1.4 enhancement to defendant’s conviction for money

laundering); United States v. Benkahla, 530 F.3d 300, 313 (4th Cir. 2008) (affirming application

of Section 3A1.4 enhancement to defendant convicted of perjury and obstructing justice by lying

to investigators and grand jury about terrorist associates); United States v. Thurston, et al., No. 06-

cr-60069-01-AA, 2007 WL 1500176, at *12 (D. Or. May 21, 2007) (holding that Section 3A1.4

does not require “substantial risk of injury”), aff’d sub nom. United States v. Tubbs, 290 F. App’x

66 (9th Cir. 2008); see also United States v. Wells, 163 F.3d 889, 899 (4th Cir. 1998) (rejecting

argument by defendant convicted of mail fraud, bank fraud, interference with IRS officials, and

transportation of stolen property that “terrorism” label did not apply for purposes of sentencing

“[s]ince he did not commit any violent acts”). Indeed, when Congress directed the Sentencing

Commission pursuant to the Antiterrorism and Effective Death Penalty Act of 1996 to tether the


                                                  38
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 39 of 58




Section 3A1.4 enhancement to the statutory definition of “federal crime of terrorism” and the

accompanying “calculation” language in 18 U.S.C. § 2332b(g)(5)(A), rather than the separate

statutory definitions of “international terrorism” or “domestic terrorism” in 18 U.S.C. § 2331,

Congress deliberately omitted language from Section 2331 requiring “violent acts” or “acts

dangerous to human life.” See 18 U.S.C. § 2331(1), (5) (defining “international terrorism” and

“domestic terrorism,” respectively).

       Regardless of the use of immediate violence, Hostetter’s conduct—and the conspiracy he

helped form and lead—displayed a clear intent, shared with Taylor and others, to stop Congress

from certifying the results of the election, including through the threatened used of force. That

conduct—calculated to stop the peaceful transfer of presidential power for the first time in the

nation’s history—is a quintessential example of an intent to influence government conduct through

intimidation or coercion and warrants an upward departure pursuant to Note 4. The terrorism

enhancement in Section 3A1.4 is meant to “punish[] more harshly than other criminals those whose

wrongs served an end more terrible than other crimes.” Benkahla, 530 F.3d at 313. Here,

Hostetter’s threats of political violence and the threatened and actual use of force on January 6 was

all enacted with a single-minded purpose: to stop the peaceful transfer of power. Hostetter’s

crimes were those of a terrorist, and the Court should say so.

               c. Prior Applications of Note 4 in the January 6th Cases

       In United States v. Elmer Stewart Rhodes, et.al., 22-cr-15, Judge Mehta found 3A1.4 n. 4

applicable to the eight defendants convicted of seditious conspiracy and/or conspiracy to obstruct




                                                 39
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 40 of 58




the official proceeding, in varying degrees.10

                      Defendant         Sentencing        U.S.S.G. § 3A1.4,
                                        Date              Note 4 Upward
                                                          Departure
                      Rhodes            May 25, 2023      6 offense levels
                      Meggs             May 25, 2023      3 offense levels
                      Watkins           May 26, 2023      3 offense levels
                      Vallejo           June 1, 2023      2 offense levels
                      Harrelson         May 26, 2023      1 offense level
                      Minuta            June 1, 2023      1 offense level
                      Moerschel         June 2, 2023      1 offense level
                      Hackett           June 2, 2023      1 offense level

       At sentencing, Judge Mehta noted that “Mr. Rhodes and his compatriots’ objective was to

affect the conduct of government, specifically Congress, and to do so through intimidation and

coercion by means of force, both through the stockpiling of weapons in the event that they needed

to be brought across the river—there was an agreement as to that—and then, of course, the actual

use of force by others who went into the building and applied that force against police officers who

were doing their duty that day.” 05/25/2023 Sentencing Hearing Tr. 78:19–79:2. It was no

excuse for those defendants—and it should be no excuse for Hostetter—that they were not

personally convicted of assaulting a member of law enforcement with a deadly or dangerous

weapon. See 05/25/2023 Sentencing Hearing Tr. 111:10–13 (“It is true that neither Mr. Rhodes

nor any of one of his conspirators used a weapon against a police officer, maimed a police officer




10
   Unlike in the Oath Keepers conspiracy case, in the Proud Boys conspiracy case, United States
v. Nordean, et al., 21-cr-175 (TJK), defendants were convicted of violating 18 U.S.C. § 1361—an
enumerated offense under 18 U.S.C. § 2332b(g)(5). Accordingly, the United States sought the
enhancement to offense level 32 and Criminal History Category VI provided for by Guidelines
3A1.4(a). See id. ECF No. 855.
                                                40
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 41 of 58




that day, and there were those who did worse in terms of physical assaults.”).

       Judge Mehta further elaborated as to the appropriateness of Note 4 enhancement in the

Oath Keepers case, by saying:

       I think the way I get there is the nature of the conduct, and let me be clear . . . . [I]t’s a
       separate and more serious conduct than what’s captured by the Guideline. And I say that
       because the Guideline itself does not necessarily require the level of intimidation and
       calculation and targeting that the terrorism enhancement—what we will call the terrorism
       enhancement in the note requires.

       This is an additional level of calculation. It is an additional level of planning. It is an
       additional level of purpose. It is an additional level of targeting, in this case, an institution
       of American democracy at its most important moment, the transfer of power. That’s pretty
       significant.

05/25/2023 Sentencing Hearing Tr. 79:12–25. The same is true here. Hostetter spent weeks

rallying others, collecting weapons, and planning an attack on the U.S. Capitol on the day that the

peaceful transfer of power was meant to take place.

       The Court also highlighted the particularly insidious nature of a conviction for a count of

conspiracy. The Court referenced Callanan v. United States, 364 U.S. 587 (1961), which states:

       Collective criminal agreement, partnership in crime presents a greater potential threat to
       the public than individual dealings. Concerted action both increases the likelihood that
       the criminal object will be successfully attained and decreases the probability that the
       individuals involved will depart from their path of criminality.

       Group association for criminal purposes often, if not normally, makes possible the
       attainment of ends more complex than those which one criminal could accomplish. Nor
       is the danger of a conspiratorial group limited to the particular end toward which it has
       embarked. Combination in crime makes more likely the commission of crimes unrelated
       to the original purpose for which the group was formed. In sum, the danger which a
       conspiracy generates is not confined to the substantive offense which is the immediate aim
       of the enterprise.

Id. at 593–94; see also 05/25/2023 Sentencing Hearing Tr. 111:17–112:7. Unlike most other


                                                  41
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 42 of 58




defendants for whom the government had sought this enhancement, but ultimately were denied in

that request, the Oath Keepers and Hostetter have been convicted of a conspiracy whose object

was to obstruct the normal functioning of the government. As with the Oath Keepers, this places

Hostetter in a different category—one presenting a “greater potential threat to the public,”

Callanan, 364 U.S. at 593.

       Here, the United States is seeking an upward departure by two offense levels for Hostetter.

This is consistent with what Judge Mehta ruled was applicable in Rhodes for those convicted of

counts of conspiracy, and who were particularly active in the planning and execution of the events

of January 6th—Kelly Meggs11 and Jessica Watkins12. This request is measured, compared to the



11
   Defendant Kelly Meggs led the military-style stack of Oath Keepers into the U.S. Capitol
building on January 6th. In advance of that date, he stoked the members of his chapter of the
Oath Keepers with violent rhetoric similar to Hostetter, by, for instance, telling a Signal group that
it was “easy to chat here” but the “real question is who’s willing to DIE[.]” On January 6th,
Meggs wrote to a group chat, “When Trump said those words earlier this week. He wasn’t talking
to the soccer moms, the rah rah trumpers, or the stop the steal people. He was talking to US!!
The 3%, the PB, and most importantly the Oath Keepers!!!!” United States v. Elmer Stewart
Rhodes, et. al., 22-cr-015 (APM), ECF No. 5656, at 101-104. Meggs was convicted of Seditious
Conspiracy (18 U.S.C. § 2384); Conspiracy to Obstruct an Official Proceeding (18 U.S.C. §
1512(k)); Obstruction of an Official Proceeding (18 U.S.C. § 1512(c)(2)); Conspiracy to Prevent
U.S. Officers from Discharging Duties (18 U.S.C. § 372); and Tampering with Documents or
Other Objects (18 U.S.C. § 1512(c)(1)). The United States sought a four-offense-level
enhancement under Note 4 for defendant Meggs; and Judge Mehta granted a three-offense-level
enhancement.
12
   Defendant Jessica Watkins drove with a group of Oath Keepers from Ohio to attend January
6th, who intended to provide weapons for the quick reaction force in Virginia. On January 6th,
Watkins joined with the other individuals comprising Stack One, forcing her way inside the
Capitol, and disrupting the certification proceedings takings place. Once inside, Watkins led the
group that moved north toward the Senate Chamber. United States v. Elmer Stewart Rhodes, et.
al., 22-cr-015 (APM), ECF No. 5656, at 120–26. Watkins was convicted of Conspiracy to
Obstruct an Official Proceeding (18 U.S.C. § 1512(k)); Obstruction of an Official Proceeding (18
U.S.C. § 1512(c)(2)); Conspiracy to Prevent U.S. Officers from Discharging Duties (18 U.S.C. §
372); and Interference with law Enforcement During a Civil Disorder (18 U.S.C. § 231). The
                                                 42
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 43 of 58




twelve-point enhancement, and Criminal History Category VI, under an application of 3A1.4(A).

The United States believes a sentence of 151 months, in the middle of the elevated Guidelines

range, is an appropriate application of the upward departure in § 3A1.4 Note 4, that aligns more

with the conduct of this defendant than his advisory Guidelines reflect.

               d. Prior Applications of Note 4 Across the Country

       Application of Note 4 to this defendant’s conduct is consistent with the application of Note

4 by other courts around the country. In United States v. Doggart, the sentencing court imposed

a Note 4(A) upward departure where the defendant was convicted of soliciting the destruction of

religious property in connection with his plan to burn down buildings in a Muslim community,

seeking to “set[] in motion an armed insurrection against the government of the United States that

would force the government of the United States either to respond to” the defendant’s planned

attacks, “or to give in and capitulate.” No. 15-cr-39-CLC-SKL (E.D. Tenn. Sep. 16, 2020), ECF

343 at 6. The Sixth Circuit recently affirmed the application, agreeing that the defendant’s

offense was “calculated to influence or affect government conduct by intimidation or coercion.”

United States v. Doggart, No. 20-6128, 2021 WL 5111912, at *2–4 (6th Cir. Nov. 3, 2021).

There, the sentencing court upwardly departed from an otherwise applicable Guidelines range that

called for 51 to 63 months of imprisonment (equivalent to offense level 24 at Criminal History

Category I) to a range of 324 to 405 months of imprisonment (equivalent to offense level 41 at




United States sought a three-offense-level enhancement under Note 4 for defendant Watkins; and
Judge Mehta granted a three-offense-level enhancement.
                                               43
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 44 of 58




Criminal History Category I). Id. After departing upward, the court sentenced the defendant to

the statutory maximum for his sole offense of conviction, ten years of imprisonment. Id. at *1.

       In a separate case in the District of Oregon, the sentencing court applied Note 4(A) when

sentencing multiple coconspirators convicted of violations under 18 U.S.C. § 372 and related

offenses for their roles as part of Ammon Bundy’s 2016 armed occupation of the Malheur National

Wildlife Refuge, based on their disagreement with federal land management policies. These

coconspirators, some of whom were armed, formed a convoy, entered the Malheur refuge, and

then set up a perimeter blocking the entrance of personnel from the Fish and Wildlife Service and

other federal agencies. As they indicated in public statements, the occupiers aimed to “adversely

possess” the federal land at the Malheur refuge and to compel the release of two other ranchers

who had been convicted of arson on federal land. Although some defendants involved in the

occupation claimed their actions were peaceful, certain defendants carried firearms as they

patrolled the refuge, including in a fire watchtower where they stood guard, and one of the

defendants was a member of the “Washington III%” militia. The court applied a Note 4(A)

upward departure to eleven of the thirteen defendants who had pled guilty (some of whom had

agreed to the application of the departure in their plea agreements), departing upward two offense

levels (one defendant), three offense levels (four defendants), five offense levels (three

defendants), and ten offense levels (one defendant). See United States v. Patrick, No. 16-cr-51

BR-9 (D. Or. Feb. 18, 2018), Sent. Tr. at 43–45. The court then applied four- and two-level

departures to two defendants convicted at trial. Id. at 46; United States v. Thorn, No. 16-cr-51-

BR (D. Or. Nov. 21, 2017), Sent. Tr. at 12.


                                               44
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 45 of 58




        Other sentencing courts have also upwardly departed under Note 4, although under a

different subsection, Note 4(B), where defendants’ convictions “involved, or were intended to

promote” an enumerated offense under 18 U.S.C. § 2332b(g)(5)(B) but the “terrorist motive was

to intimidate or coerce a civilian population” rather than to influence or retaliate against

government conduct. See United States v. Harpham, 11-cr-42 (E.D. Wash.), applied in United

States v. Harpham, 2012 WL 220276 (E.D. Wash. Jan. 25, 2012) (three offense-level Note 4(B)

departure applied to defendant who placed explosive device along the Martin Luther King, Jr. Day

parade targeting parade participants); United States v. Cottrell, 04-cr-279 (C.D. Cal.), aff’d, United

States v. Cottrell, 312 F. App’x 979, 981 (9th Cir. 2009) (per curiam), superseded on other grounds

in 333 F. App’x 213 (9th Cir. 2009) (per curiam) (after application of Note 4(B), defendant

sentenced to 100 months of imprisonment for participating in conspiracy to commit vandalism and

arson of SUVs in connection with environmental extremist organization); United States v. Jordi,

03-cr-60259 (S.D. Fla.), aff’d, United States v. Jordi, 418 F.3d 1212 (11th Cir. 2005) (after

application of Note 4(B), defendant sentenced to 10 years of imprisonment in connection with

conviction for planned bombing of abortion clinics meant to dissuade doctors from performing

abortions); see also United States v. Holzer, 19-cr-488 (D. Colo.), ECF 101 at 1–5 (finding that

Note 4(B) applied to defendant convicted of attempted arson of a synagogue, but describing 235-

month sentence of imprisonment as the result of an upward “variance”).

   V.      SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

        In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.


                                                 45
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 46 of 58




       A.      Nature and Circumstances of the Offense

       Hostetter’s felonious conduct on January 6, 2021 was part of a massive riot that almost

succeeded in preventing the certification vote from being carried out, frustrating the peaceful

transition of presidential power, and throwing the United States into a Constitutional crisis.

Hostetter planned with others for weeks to obstruct the official proceeding, including through the

threatened and actual use of force, as described above.       The nature and circumstances of

Hostetter’s offenses were of the utmost seriousness, and fully support the government’s

recommended sentence of 151 months’ imprisonment.

       B.      Hostetter’s History and Characteristics

       The Court had the opportunity to get to know the defendant throughout this case—both

through his numerous filings as a pro se defendant and during his testimony at trial. The Court

saw a defendant who epitomizes disrespect for the law and who believes he can put himself above

the law.

       Hostetter has shown himself to be a man eager to stoke the fires of revolution, and to

assume the role of a leader of the revolution he fantasizes is coming. Hostetter talked repeatedly

in advance of January 6 in the language of “war” and “revolution.” He discussed the “tyrants and

traitors” and the need for “executions” of his political enemies. His delusions of grandeur—to

see himself as the main player in a grand conspiracy centered on January 6, 2021—further

demonstrate the danger Hostetter poses to the community in the future.

       As explained in detail above, at trial, the Court also saw that Hostetter, when backed into

a corner, was willing to lie. For instance, when asked if was “calling for executions in public


                                               46
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 47 of 58




speeches,” July 12 Trial Tr. 127:8–9, Hostetter responded:

       Calling for a lawful process to take place before they’re – I’m not calling for people to go
       out with a gallows and drag it somewhere, like the staged gallows that just happened to
       show up on January 6th for a photo op that everybody got shocked about in the Main Street
       media. No. There’s a lawful process. In fact, you, Mr. Prosecutor, if an act of treason
       were committed, and if you-all were really digging deep into what happened on January
       6th, you might find that treason. You would go to the U.S. Code, find the definition of
       treason, use that to prosecute those traitors, and my guess is you might even recommend
       the penalty in that code, which is the death penalty.

July 12 Trial Tr. 127:10–22. But, of course, Hostetter never, even obliquely, referred to the U.S.

Code or pursuit of a formal legal process in his many public remarks calling for revolutionary

violence. That story was cooked up for trial, for the benefit of the Court. But Hostetter cannot

walk away from his own words:

       Choke that city off, fill it with patriots, and then those people behind the walls of the Senate
       and the House are gonna be listening to us chanting outside those walls. . . . And they’re
       gonna realize, we have one choice. We either fix this mess and keep America America,
       or we become traitors, and those five million people outside the walls are gonna drag us
       out by our hair and tie us to a fucking lamp post. That’s their option.

Exhibit 309. Hostetter was never talking about a judicial process. His intent was to make

members of Congress afraid they might be murdered. Because his preferred candidate lost an

election. Hostetter likes to wrap himself in the American flag and take on the role of freedom

fighter, but there is nothing patriotic or American about calling for violence—or threatening

violence, to achieve your political aims. That is not patriotism. That is terrorism.

       Hostetter’s character was on full display as he belligerently cross-examined a U.S. Capitol

Police Captain about why she had not proposed the erection of “unscalable” fencing around the

U.S. Capitol before January 6—to help keep our rioters like him. His character was further on

display in his self-indulgent court filings, where he ignored the issues relevant to the case and

                                                 47
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 48 of 58




talked about the assassination of President John F. Kennedy, ECF No. 212 at 2; the firing of Tucker

Carlson, id. at 2, 13, 24; the collapse of 7 World Trade Center on September 11, 2001, id. at 2, 24,

26; occult symbols in the Wizard of Oz, id. at 8; the secret society Skull and Bones, id. at 24; and

the censoring of Facebook, Instagram, and Twitter accounts, id. at 27. The seriousness with

which he took the proceedings was shown by his bragging that his filings were “as much for public

consumption” as they were “for the court.” Id. at 2. It was shown further in his opening

statement, when he told the Court his lengthy witness list of government officials, such as Nancy

Pelosi and Lindsay Graham, was “submitted I guess more for shock value.” July 6 Trial Tr 18:13–

19. Hostetter has never taken the proceeding seriously.

       There are aspects of Hostetter’s history and characteristics that are to his credit, but with

each the Court must face the evidence that undermines it. For years, Hostetter was a yoga and

meditation teacher. PSR ¶ 113, 115. But he collected weapons for January 6 and called for

executions of politicians he disagreed with. He is a gifted and charismatic public speaker. But

he used those gifts to stoke the fires of rebellion and to call for war. He has decades of service to

his community as a member of law enforcement and in service in the United States Army. But

he advanced past police lines, when he knew better, and joined a riotous mob set on disrupting the

peaceful transfer of power. As the Court noted in its verdict, “Mr. Hostetter is a retired police

chief with over two decades of experience in law enforcement. Simply put, there is no doubt in

my mind after seeing the evidence that Mr. Hostetter knew that he was part of something

unlawful.” Verdict at 10. But that he knew it was unlawful did not stop Hostetter.

       This defendant epitomizes disrespect for the law and disrespect for our constitutional order.


                                                 48
          Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 49 of 58




A lengthy sentence is warranted to ensure that he understands he has committed serious crimes

that come with consequences, and in order to deter conduct like this again in the future.

          C.     The Need for the Sentence Imposed To Reflect the Seriousness of the Offense
                 and Promote Respect for the Law

          As with the nature and circumstances of the offense, this factor supports a lengthy sentence

of incarceration. Hostetter’s crime was an attack on not just the Capitol, but the United States

and its system of government. He joined a mob and struck a blow to a central feature of the

American system: the peaceful transfer of power. This is a defendant who rallied others to the

cause of war, revolution, and threats of violence against political leaders. It is the message he

took to Washington, D.C. and to the U.S. Capitol building, where he joined others in surrounding

the building. A lengthy term of incarceration is necessary to reflect the seriousness of his crime

and to promote respect for the law.

          D.     The Need for the Sentence To Afford Adequate Deterrence

                                         General Deterrence

          A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others.    18 U.S.C.§ 3553(a)(2)(B).      The need to deter others is especially strong in cases

involving domestic terrorism, which the breach of the Capitol and Hostetter’s conduct in particular

certainly was.13 The demands of general deterrence weigh strongly in favor of incarceration, as

they will for nearly every case arising out of the violent riot at the Capitol. Where, as here, the

defendant has courted public attention to promote his ideology of violent revolution, the need for



13
     See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).
                                                  49
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 50 of 58




general deterrence is particularly acute, to deter any other individuals who may pick up his mantle

in the future

                                       Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration.

       Hostetter has never taken responsibility or expressed regret for his conduct on January 6,

2021. Hostetter has never walked away from his calls for war, revolution, and violence against

political leaders. His continued adherence to the violent and revolutionary ideology that brought

him to Washington, D.C. on January 6 is alarming and undermines any last-minute claims of

remorse he may offer.      See United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr.

10/4/2021 at 29–30 (“[The defendant’s] remorse didn’t come when he left that Capitol. It didn’t

come when he went home. It came when he realized he was in trouble. It came when he realized

that large numbers of Americans and people worldwide were horrified at what happened that day.

It came when he realized that he could go to jail for what he did. And that is when he felt remorse,

and that is when he took responsibility for his actions.”) (statement of Judge Chutkan). The

certification of the Electoral College vote takes place every four years. Nothing in Hostetter’s

conduct or statements to date suggest he will not come back for the next certification he disagrees

with to engage in the same dangerous and obstructive conduct. He must be deterred.

       E.       The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement


                                                50
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 51 of 58




community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied]

and adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency,

complying with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S.

85, 96 (2007) (quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission

“has the capacity courts lack to base its determinations on empirical data and national experience,

guided by professional staff with appropriate expertise,” and “to formulate and constantly refine

national sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts

must give “respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider . . . the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.”   So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007).     In short, “the Sentencing Guidelines are themselves an anti-

disparity formula.”   United States v. Blagojevich, 854 F.3d 918, 921 (7th Cir. 2017); accord

United States v. Sanchez, 989 F.3d 523, 540 (7th Cir. 2021). Consequently, a sentence within the

Guidelines range will ordinarily not result in an unwarranted disparity.       See United States v.

Smocks, D.D.C. 21-cr-198 (TSC), Sent. Hrg. Tr. at 49 (“as far as disparity goes, … I am being


                                                 51
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 52 of 58




asked to give a sentence well within the guideline range, and I intend to give a sentence within the

guideline range.”) (statement of Judge Chutkan).

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the sentences in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       As a leader of a conspiracy to obstruct the certification of the Electoral College vote,

Hostetter has few peers. The most comparable cases are those defendants who led or organized

conspiracies, have proceeded to trial in a § 1512(k) or § 371 charge, have been found guilty, and

have been sentenced. Those defendants arise from three cases: the Oath Keepers, 1:22-cr-15

(APM), and Proud Boys, 1:21-cr-175 (TJK), conspiracy cases, both of which included 18 U.S.C.

§ 2384 (Seditious Conspiracy) charges, and a § 371 conspiracy case focused on another group

from California, United States v. Rodriguez, et al., 21-cr-246. Among these cases, the following

sentences have been imposed to date14:

              Oath Keeper Elmer Stewart Rhodes, 1:22-cr-15 (APM), who was also convicted of
               violating 18 U.S.C. § 2384, was sentenced to 216 months’ incarceration.

              Oath Keeper Kelly Meggs, 1:22-cr-15 (APM), who was also convicted of violating
               18 U.S.C. § 2384, was sentenced to 144 months’ incarceration.

              Oath Keeper Jessica Watkins, 1:22-cr-15 (APM), was sentenced to 102 months’

14
  In addition to these cases, Dominic Pezzola, 1:21-cr-175 (TJK), a defendant in the Proud Boys
conspiracy case, was sentenced to 180 months’ incarceration for his conviction for 18 U.S.C.
§§ 1512(c)(2) and 2. Pezzola had been charged with § 1512(k) and § 2384 but was convicted of
neither.
                                               52
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 53 of 58




               incarceration. Watkins, like Hostetter, was convicted of violating 18 U.S.C. §
               1512(k) and 18 U.S.C. § 1512(c)(2), as well as 18 U.S.C. § 1361, but was found
               not guilty of the § 2384 charge.

              Proud Boy Ethan Nordean, 1:21-cr-175 (TJK), who was also convicted of violating
               18 U.S.C. § 2384, was sentenced to 216 months’ incarceration.

              Proud Boy Joseph Biggs, 1:21-cr-175 (TJK), who was also convicted of violating
               18 U.S.C. § 2384, was sentenced to 204 months’ incarceration.

              Proud Boy Zachary Rehl, 1:21-cr-175 (TJK), who was also convicted of violating
               18 U.S.C. § 2384, was sentenced to 180 months’ incarceration.

              Proud Boy Enrique Tarrio, 1:21-cr-175 (TJK), who was also convicted of violating
               18 U.S.C. § 2384, was sentenced to 240 months’ incarceration.

              Daniel Rodriguez, 1:21-cr-246 (ABJ), who was convicted of violating, inter alia,
               18 U.S.C. § 371 and 18 U.S.C. § 1512(c)(2), was sentenced to 151 months’
               incarceration.

       In light of the leadership role assumed by Hostetter and the efforts to organize others with

calls for violence, these defendants are the most closely analogous to Hostetter. Notably, for each

of the sentences noted above, the sentencing court imposed the same sentence for the § 1512(k)

conviction as it did for the § 2384 conviction, rather than making a distinction between the two

counts. Further making these cases analogous to Hostetter’s, it is notable that among these

defendants, only two—Dominic Pezzola and Daniel Rodriguez—received a conviction for

assaultive conduct.15

       Additional cases before this Court provide benchmarks, but are distinguishable in

meaningful ways.

              In United States v. Craig Bingert, 1:21-cr-91 (RCL), this Court sentenced Craig

15
  Pezzola’s sentence for 18 U.S.C. §§ 1512(c)(2) and 2 was 180 months, higher than the 96-month
sentence he received for his 18 U.S.C. § 111(a)(1) conviction.
                                               53
           Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 54 of 58




                  Bingert to a below-Guidelines sentence of 96 months’ imprisonment. While
                  Bingert’s ascent to the Upper West Terrace mirrored Hostetter’s in many ways—
                  including through the forceful opposition to a police line—Bingert’s case lacks the
                  planning, coordination, and conspiracy elements that make Hostetter’s case
                  particularly incendiary.

                 In United States v. Daniel Scott, 1:21-cr-292 (RCL), this Court sentenced Daniel
                  Scott, a member of the Proud Boys, to 60 months’ imprisonment. The Court
                  sentenced Scott to a term of imprisonment toward the top of the applicable
                  sentencing Guidelines—51 to 63 months. These sentencing Guidelines, which are
                  substantially lower than those for Hostetter, reflected the Scott’s acceptance of
                  responsibility—a mitigating factor, which is wholly absent here.16

           The defendant is in a rare class. While his conduct on January 6 itself may appear at times

tame when compared to some of the heinous acts of violence committed by others near him, it is

his role as a leader of a conspiracy, and his months-long promotion of political violence, that make

him so uniquely dangerous. In his calls for violence, and his eagerness to organize for it, he has

few peers. A sentence of 151 months’ imprisonment is appropriate.

     VI.       RESTITUTION

           Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). First, the Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291




16
   Other defendants who pleaded guilty and received substantially lower sentences—such as
defendants in United States v. Scott Fairlamb, 1:21-cr-120 (41 months), and United States v. Jacob
Chansley, 1:21-cr-3 (41 months)—are poor comparators to Hostetter, a conspirator defendant who
continues to deny responsibility and promotes the offensive and dangerous myth that the attack on
the Capitol on January 6 was a false flag operation.
                                                54
       Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 55 of 58




§ 3579, 96 Stat. 1248 (now codified at 18 U.S.C.         § 3663), “provides federal courts with

discretionary authority to order restitution to victims of most federal crimes.” Papagno, 639 F.3d

at 1096; see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to restitution under the VWPA).

Second, the Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110 Stat.

1214 (codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a

subset of the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The MVRA applies

to certain offenses including those “in which an identifiable victim or victims has suffered a

physical injury or pecuniary loss,” 18 U.S.C. § 3663A(c)(1)(B), a “crime of violence,”

§ 3663A(c)(1)(A)(i), or “an offense against property . . . including any offense committed by fraud

or deceit,” § 3663A(c)(1)(A)(ii). See Fair, 699 F.3d at 512 (citation omitted). Because Hostetter

was convicted of a violation of an offense under Title 18, the VWPA applies.

       The applicable procedures for restitution orders issued and enforced under these two

statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing that sentencing court

“shall” impose restitution under the MVRA, “may” impose restitution under the VWPA, and

“shall” use the procedures set out in Section 3664).

       Both the VWPA and MVRA require identification of a victim, defined in both statutes as

a person directly and proximately harmed as a result of the offense of conviction. See Hughey v.

United States, 495 U.S. 411, 418 (1990) (interpreting the VWPA). Both statutes identify similar

covered costs, including lost property and certain expenses of recovering from bodily injury. See

Papagno, 639 F.3d at 1097-97; 18 U.S.C. §§ 3663(b), 3663A(b). Finally, under both the statutes,

the government bears the burden by a preponderance of the evidence to establish the amount of


                                                55
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 56 of 58




loss suffered by the victim. United States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019).

        In deciding whether to impose restitution under the VWPA, the sentencing court must take

account of the victim’s losses, the defendant’s financial resources, and “such other factors as the

court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14, 23-24 (D.D.C. 2019)

(quoting 18 U.S.C. § 3663(a)(1)(B)(i)). The MVRA, by contrast, requires imposition of full

restitution without respect to a defendant’s ability to pay.17

        Because Hostetter in this case engaged in criminal conduct in tandem with hundreds of

other defendants charged in other January 6 cases, and his criminal conduct was a “proximate

cause” of the victims’ losses if not a “cause in fact,” the Court has discretion to apportion restitution

and hold Hostetter responsible for [his] individual contribution to the victims’ total losses. See

Paroline v. United States, 572 U.S. 434, 458 (2014) (holding that in aggregate causation cases, the

sentencing court “should order restitution in an amount that comports with the defendant’s relative

role in the causal process that underlies the victim’s general losses”); see also United States v.

Monzel, 930 F.3d 470, 476-77, 485 (D.C. Cir. 2019) (affirming $7,500 in restitution toward more

than a $3 million total loss, against a defendant who possessed a single pornographic image of the

child victim; the restitution amount was reasonable even though the “government was unable to

offer anything more than ‘speculation’ as to [the defendant’s] individual causal contribution to [the

victim’s] harm”; the sentencing court was not required to “show[] every step of its homework,” or

generate a “formulaic computation,” but simply make a “reasoned judgment.”); cf. 18 U.S.C. §



 17
   Both statutes permit the sentencing court to decline to impose restitution where doing so will
 “complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. §§ 3663(a)(1)(B)(ii),
 3663A(c)(3)(B).
                                                56
        Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 57 of 58




3664(h) (“If the court finds that more than 1 defendant has contributed to the loss of a victim, the

court … may apportion liability among the defendants to reflect the level of contribution to the

victim’s loss and economic circumstances of each defendant.”).

       More specifically, the Court should require Hostetter to pay $2,000 in restitution for his

convictions on Counts One, Two, Three, and Four. This amount fairly reflects Hostetter’s role in

the offense and the damages resulting from his conduct. Moreover, in cases where the parties

have entered into a guilty plea agreement, $2,000 has consistently been the agreed upon amount

of restitution and the amount of restitution imposed by judges of this Court where Hostetter was

not directly and personally involved in damaging property. Accordingly, such a restitution order

avoids sentencing disparity.

   VII.    CONCLUSION

       For the reasons set forth above, the United States recommends that the Court impose a

sentence of 151 months’ incarceration, 36 months supervised release, and $2,000 restitution.

                                      Respectfully submitted,

                                      MATTHEW M. GRAVES
                                      UNITED STATES ATTORNEY




                               BY:     /s/ Anthony W. Mariano
                                      ANTHONY W. MARIANO, MA Bar No. 688559
                                      JASON M. MANNING, NY Bar No. 4578068
                                      Trial Attorney, Detailees
                                      Capitol Siege Section
                                      United States Attorney’s Office
                                      for the District of Columbia
                                      601 D Street N.W.

                                                57
Case 1:21-cr-00392-RCL Document 383 Filed 11/29/23 Page 58 of 58




                       Washington, DC 20530
                       (202) 476-0319
                       Anthony.Mariano2@usdoj.gov
                       (202) 514-6256
                       Jason.Manning@usdoj.gov




                               58
